                     Declaration of James G. Connell, III


1. My name is James G. Connell, III. I am over 18 years old and competent to
   make a declaration. I am the plaintiff in Connell v. Central Intelligence
   Agency, 21-cv-0627 (CRC).
                           Duties as Learned Counsel
2. I am contracted by the United States government, Department of Defense,
   Office of Military Commissions, as Learned Counsel pursuant to 10 U.S.C. §
   949a(b)(2)(C)(ii) and Regulation for Trial by Military Commission (RTMC) § 9-
   1(a)(6). In 2011, I was detailed by Colonel Jeffrey P. Calwell, United States
   Marine Corps, as Learned Counsel for Ammar al Baluchi in United States v.
   Ammar al Baluchi, commonly known as “the 9/11 Case.” In this declaration, I
   write only in my capacity as plaintiff and counsel for Ammar al Baluchi, and
   do not speak for any other element of the United States government.

3. Under RTMC 9-1(b)(2)(F), my duties as Learned Counsel include safeguarding
   national security information. To the best of my understanding and belief, no
   statement in this declaration reveals classified information.
            Classification guidance on 2013 Camp VII inspection
4. In 2013, I and other defense attorneys in the 9/11 Case obtained an order from
   the military commission permitting inspection of Camp VII. At the time, Mr.
   al Baluchi was imprisoned in Camp VII.

5. The Office of Military Commissions, Office of the Chief Prosecutor (OCP) has
   repeatedly advised me that its attorneys speak for all departments and
   agencies of the United States, including CIA. On occasion, I have interacted
   with counsel for specific agencies, including CIA, but no counsel other than
   OCP has ever appeared (other than as a witness) on behalf of any United States
   department or agency in the 9/11 Case. On many occasions, OCP has
   represented the interests of CIA in the 9/11 Case, including with respect to CIA
   classification decisions, CIA Touhy regulations, CIA employee interviews, and
   other CIA equities. On many occasions, OCP has invoked national security
   privilege on behalf of CIA. On information and belief, OCP is an authorized
   representative of CIA in the 9/11 Case.

6. In preparation for the 2013 Camp VII inspection, I spoke with members of OCP
   (responsible for prosecutions at Guantanamo), the Office of the Staff Judge
   Advocate for Joint Task Force-Guantanamo (responsible for legal issues
   relating to Camp VII), and the Office of Special Security (responsible for
   security issues in the military commissions). The discussions centered
   primarily on logistics and classification issues, including specific aspects of
   Camp VII that were classified. At no time did any member of these government
   agencies advise me that the existence or non-existence of information
   regarding CIA operational control of Camp VII was classified.

7. I participated in an inspection of parts of Camp VII in August 2013. During
   the Camp VII inspection, an attorney from the Office of the Staff Judge
   Advocate for Joint Task Force-Guantanamo escorted me and the other
   members of the inspection team, including a photographer from Joint Task
   Force-Guantanamo. Among other roles, the attorney decided what elements
   the inspection team was allowed to photograph. At no time did the attorney
   advise me that, or prohibit photography on the basis that, the existence or non-
   existence of information regarding CIA operational control of Camp VII was
   classified.

8. At the conclusion of the Camp VII inspection, I submitted the inspections
   team’s notes and photographs to an Original Classification Authority, through
   the Office of Special Security, for classification review. The Original
   Classification   Authority    marked     the    notes     and   photographs
   SECRET//NOFORN and returned them to me. At no time did the Original
   Classification Authority advise me that the existence or non-existence of
   information regarding CIA operational control of Camp VII was classified.
                        FOIA requests and responses
9. I have reviewed Part II of Vanna Blaine’s March 11, 2022 declaration. It is
   accurate although incomplete is some respects.

10. CIA’s September 29, 2020 communication included a three-page document
    responsive to my request. A complete copy of CIA’s September 29, 2020 letter,
    including the responsive document C06677259, is Attachment A to this
    declaration.

11. CIA’s July 15, 2021 letter included two responsive documents, C06541712
    (Attachment B) and C06902570 (Attachment C). CIA had previously released
    C06541712 with the same number but with a release date of June 10, 2016
    through its electronic reading room (Attachment D). In 2018, I was aware of
    C06541712 and referenced it in my March 8, 2018 letter to CIA. C06902570,
    provided on July 15, 2021, is an expanded version of C06677259, provided on
    September 29, 2020.
                                   ODNI disclosures
    12. In the course of my duties, I have engaged in extensive research, investigation,
        and litigation over the connection between CIA, FBI, and DoD in the effort to
        obtain statements from my client and others in late 2006 and early 2007. In
        the course of this research, I discovered two documents in the ACLU Torture
        Database regarding interagency decisions over Camp VII prisoners in late
        2006 (Attachments E and F).1 The documents are on letterhead from the Office
        of the Director of National Intelligence (ODNI). Metadata on the Torture
        Database states that ODNI released the documents. I have attached the
        documents to pleadings in the 9/11 Case and repeatedly relied on them in oral
        arguments. Following Original Classification Authority review, the military
        commission publicly released the documents without additional redactions.2
        Despite this extensive use of the documents, no person has ever suggested to
        me that the documents are anything other than what they purport to be. To a
        reasonable professional certainty, I believe the documents to be authentic and
        declassified by ODNI as redacted.
                    Testimony of the First Camp VII Commander
    13. During 2019, I participated in litigation and negotiations over the production
        of witnesses regarding Mr. al Baluchi’s legal positions. As part of that process,
        OCP called a witness under the pseudonym First Camp VII Commander.

    14. The First Camp VII Commander consented to an interview in advance of his
        testimony. I participated in an interview with the First Camp VII Commander
        with a prosecutor from OCP present to represent the interests of all United
        States agencies, including CIA. We reviewed a number of classified documents
        during the interview. At no time did either the First Camp VII Commander or
        the prosecutor advise me that the existence or non-existence of documents
        regarding CIA operational control of Camp VII was classified.

    15. Prior to the testimony of the First Camp VII Commander, OCP provided
        written classification guidance, which it represented to be the combined

1The two documents may be found at
https://www.thetorturedatabase.org/document/agenda-re-interagency-decisions-
needed-regarding-14-high-value-detainees and
https://www.thetorturedatabase.org/document/odni-memo-mfr-29-november-hvd-
detainee-meeting.
2The military commission’s public release of the two documents may be found at
https://www.mc.mil/Portals/0/pdfs/KSM2/KSM%20II%20(AE538C(AAA)).PDF.
   guidance of all relevant Original Classification Authorities, including CIA.
   During many days of witness testimony in 2019 and 2020, the military judge,
   CISOs, DISOs, prosecutors, and defense counsel relied extensively on this
   document (known at the time as AE 658A), which OCP updated several times.
   As an example, when I asked the First Camp VII Commander in open court,
   whether the Camp VII guards wearing military uniforms were in fact military,
   the authority to answer in open court came from the written classification
   guidance (see Exhibit G at 28658-61). An unclassified paragraph of the written
   classification guidance provides that while the redacted Executive Summary
   statement regarding CIA operation control of Camp VII is unclassified,
   specifics underlying that conclusion are classified. At no point does the written
   classification guidance, or any other classification guidance I have ever
   received (other than Ms. Blaine’s declaration) state that the existence or non-
   existence of CIA documents regarding operational control of Camp VII is
   classified. In the course of litigating the 9/11 Case, I and others have relied
   extensively on the contours of classification guidance regarding CIA
   operational control of Camp VII, including the unclassified fact of the existence
   of documents regarding CIA operational control of Camp VII.

16. On November 1 and 4, 2019, the First Camp VII Commander testified under
    oath in the 9/11 Case (Attachment G). Stenographers employed by the United
    States Military Commissions Office of the Convening Authority
    stenographically recorded the testimony, which occurred both in open court (on
    a forty-second delay) and later in closed court. On information and belief,
    Original Classification Authorities, including CIA, reviewed the transcripts of
    both open and closed court, redacted them, and authorized the release of the
    redacted transcripts to the public. In the transcripts, “TC [MR. SWANN]”
    refers to counsel for the prosecution; at the time, Mr. Swann was a member of
    OCP.
             Litigation over Camp VII decision-making authority
17. As part of the extensive litigation over 2006-07 CIA-FBI-DoD cooperation in
   the effort to obtain statements from the defendants in the 9/11 Case, I filed a
   motion in March 2020 seeking production of documents regarding interagency
   policy process regarding Camp VII prisoners.

18. In early November 2021, the military commission held oral arguments on the
   motion to compel. My opening argument on the motion is attached as Exhibit
   H.
19. On March 8, 2022, the military commission ordered the government to produce
    documents relating to the interagency processes addressing the Camp VII
    detainees, specifically including CIA documents (Exhibit I).

20. Under U.S.C. § 1746, I declare under penalty of perjury under the laws of the
    United States of America that the foregoing is true and correct. Executed on
    April 28, 2022.

                                             CONNELL.J Digitally    signed by
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